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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY


  IN RE VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC. SECURITIES LITIGATION                    No. 3:15-CV-07658-MAS-LHG

  This Document Applies To:

  All Actions.



                      PRICEWATERHOUSECOOPERS LLP’S ANSWER
                     AND DEFENSES TO CONSOLIDATED COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 8, Defendant PricewaterhouseCoopers LLP

  (“PwC”) submits the following Answer, including Defenses, to the Consolidated Complaint

  (“Complaint”) [Dkt. No. 80].

                                  PRELIMINARY STATEMENT

         Only one plaintiff, the City of Tucson (“Plaintiff”), asserts one claim against PwC under

  Section 11 of the 1933 Securities Act, which is among the “Securities Act Claims” set forth in a

  separate section of the Complaint (the “Securities Act Complaint”) from the section for claims

  under the 1934 Exchange Act. That claim is set forth in Count VII of the Complaint, paragraphs

  669-712, which incorporates by reference paragraphs 551-571. Accordingly, PwC responds to

  paragraphs 551-571 and 669-712, as well as paragraphs 729-734, which set forth class action

  allegations applicable to Count VII. PwC does not respond to the portion of the Complaint that

  relates to claims under the Exchange Act (¶¶ 1-550) or to counts of the Security Act Complaint

  asserted against other defendants, namely, Counts III-VI (¶¶ 572-668) (which have been

  dismissed by Order dated April 28, 2017) and Counts VIII-IX (¶¶ 713-728). PwC’s response to

  the applicable allegations is set forth below.
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    ANSWER TO ALLEGATIONS OF SECURITIES ACT COMPLAINT (COUNT VII)

         PwC responds to the allegations of Count VII of the Securities Act Complaint as follows:

         551.    Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required. The remaining allegations set forth in paragraph 551

  purport to state legal conclusions to which no response is required. To the extent a response may

  be deemed required, PwC denies the allegations set forth in paragraph 551 and denies that

  Plaintiff has stated any claim against PwC under Section 11 of the Securities Act or otherwise.

         552.    Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required. The remaining allegations set forth in paragraph 552

  purport to state legal conclusions to which no response is required. To the extent a response may

  be deemed required, PwC denies the allegations set forth in paragraph 552.

         553.    Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required. PwC is otherwise without knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in paragraph 553, except PwC

  admits that Pearson and Schiller participated in the preparation of filings in connection with this

  offering, and PwC admits, upon information and belief, that Pearson and Schiller participated in

  conference calls and meetings related to the March 2015 Stock Offering and participated in

  hiring underwriters in connection with this offering. PwC refers to the referenced March 2015

  Prospectus Supplement for a complete and accurate description of its contents.




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         554.    PwC is without knowledge or information sufficient to form a belief as to the

  truth of the allegations set forth in paragraph 554, except PwC refers to Pearson’s and Schiller’s

  respective employment agreements for a complete and accurate description of their terms.

         555.    The allegations set forth in paragraph 555 are not directed at PwC, such that that

  no response is required. To the extent a response may be deemed required, PwC is without

  knowledge or information sufficient to form a belief as to the truth of these allegations, except

  PwC admits that certain underwriters participated in the sale of the securities sold in the March

  2015 Stock Offering.

         556.    Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required.

         557.    PwC denies the allegations set forth in paragraph 557, except PwC is without

  knowledge or information sufficient to form a belief as to the truth of the allegation that Plaintiff

  “purchased Valeant stock in the March 2015 Stock Offering described below from the Securities

  Act Defendants traceable to the registration statement and by means of the prospectus.”

         558.    Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required. As to the remaining allegations, PwC admits that

  Valeant is a corporation with its United States headquarters in this District; PwC refers to the

  referenced March 2015 Prospectus Supplement for a complete and accurate description of its

  contents; and PwC otherwise denies the allegations of paragraph 558.

         559.    PwC admits that Pearson was Valeant’s CEO and served on Valeant’s Board of

  Directors. PwC admits that Pearson signed Valeant’s June 10, 2013 shelf registration statement



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  and prospectus (“Registration Statement”) and Valeant’s 2014 Form 10-K. PwC refers to the

  referenced Registration Statement, 2014 Form 10-K, and March 2015 Prospectus Supplement for

  a complete and accurate description of their contents and otherwise is without knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in paragraph 559.

         560.    PwC admits that Schiller was an Executive Vice President and CFO of Valeant

  and served on Valeant’s Board of Directors.            PwC admits that Schiller signed Valeant’s

  Registration Statement and 2014 Form 10-K.             PwC refers to the referenced Registration

  Statement, 2014 Form 10-K, and March 2015 Prospectus Supplement for a complete and

  accurate description of their contents and otherwise is without knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in paragraph 560.

         561.    PwC admits the allegations set forth in paragraph 561.

         562.    Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required. As to the March 2015 Stock Offering, the allegations

  set forth in paragraph 562 purport to state legal conclusions to which no response is required. To

  the extent a response may be deemed required, PwC is without knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in paragraph 562.

         563.    PwC admits that it served as Valeant’s independent auditor at the time of the

  March 2015 Stock Offering and continues to do so today. PwC admits that Valeant’s 2014 Form

  10-K included PwC’s Report of Independent Registered Accounting Firm (“PwC’s Audit

  Report”) relating to Valeant’s financial statements, financial statement schedule, and the

  effectiveness of Valeant’s internal control over financial reporting for the year ended December

  31, 2014. PwC refers to that Audit Report for a complete and accurate description of its contents



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  and denies Plaintiff’s characterizations of that Audit Report (including but not limited to the

  allegation that PwC “certified Valeant’s 2014 10-K”).            PwC admits that it was paid

  approximately $13.4 million, $12.6 million, and $19.9 in audit fees in connection with its 2013,

  2014, and 2015 audits, respectively.

          564.     The allegations set forth in paragraph 564 are not directed at PwC, such that no

  response is required. To the extent a response may be deemed required, PwC admits that HSBC

  Securities (USA) Inc. (“HSBC”); Mitsubishi UFJ Securities (USA), Inc. (“MUFJ”); DNB

  Markets Inc. (“DNB Markets”); Barclays Capital, Inc. (“Barclays”); Morgan Stanley & Co. LLC

  (“Morgan Stanley”); RBC Capital Markets; and SunTrust Robinson Humphrey, Inc.

  (“SunTrust”) (collectively, the “Stock Underwriter Defendants”) served as underwriters in

  connection with the March 2015 Stock Offering. PwC refers to the referenced March 2015

  Prospectus Supplement for an identification of the underwriters associated with that offering and

  their roles.

          565.     The allegations set forth in paragraph 565 are not directed at PwC, such that no

  response is required. To the extent a response may be deemed required, PwC admits that the

  Stock Underwriter Defendants served as underwriters in connection with the March 2015 Stock

  Offering. PwC refers to the referenced March 2015 Prospectus Supplement for an identification

  of the underwriters associated with that offering and their roles. PwC is otherwise without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  paragraph 565.

          566.     Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required.



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         567.     Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required. As to the remaining allegations, PwC admits that the

  Stock Underwriter Defendants served as underwriters in connection with the March 2015 Stock

  Offering. PwC refers to the referenced March 2015 Prospectus Supplement for an identification

  of the underwriters associated with that offering and their roles.

         568.     Paragraph 568 contains no factual allegations and requires no response.

         569.     Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required.

         570.     Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required.

         571.     Plaintiffs’ claims concerning four alleged debt “offerings” are directed to

  defendants other than PwC and have been dismissed by Order dated April 28, 2017, such that no

  response to those allegations is required.

         [For the reasons given above, PwC is not responding to paragraphs 572-668 of the

  Complaint.]

         669.     PwC repeats and re-alleges its responses to Paragraphs 551-571 as if fully set

  forth herein.

         670.     The allegations set forth in paragraph 670 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC denies

  knowledge or information sufficient to form a belief as to the truth of the allegation that Plaintiff



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  purchased Valeant common stock in the March 2015 Stock Offering and otherwise denies the

  allegations set forth in paragraph 670.

         671.    PwC admits that on March 16, 2015 Valeant announced a $1.45 billion offering

  of its common shares, that on March 17, 2017 Valeant announced that it would issue 7,286,432

  common shares at a price of $199.00 per share and that it intended to use proceeds of the

  offering to fund the purchase of Salix and related costs, and that Valeant made certain SEC

  filings in connection with its March 2015 offering. PwC refers to these referenced public

  announcements for a complete and accurate description of their contents and otherwise is

  without knowledge or information sufficient to form a belief as to the truth of the allegations set

  forth in paragraph 671.

         672.    PwC admits that Valeant filed the June 2013 Registration Statement. PwC refers

  to the referenced Registration Statement and to Valeant’s financial statements incorporated by

  reference therein for a complete and accurate description of their contents and otherwise denies

  the allegations of paragraph 672.

         673.    PwC admits that Valeant filed the March 2015 Prospectus Supplement. PwC

  refers to the referenced Prospectus Supplement and to Valeant’s financial statements

  incorporated by reference therein for a complete and accurate description of their contents and

  otherwise denies the allegations of paragraph 673.

         674.    PwC admits that Valeant filed the March 2015 Prospectus Supplement and refers

  to the referenced Prospectus Supplement for a complete and accurate description of its contents.

  PwC is without knowledge or information sufficient to form a belief as to the truth of the

  allegation as to what information investors may deem “fundamental to assessing the value of the

  March 2015 Stock Offering,” and PwC otherwise denies the allegations of paragraph 674.



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         675.    PwC admits the allegations set forth in paragraph 675.

         676.    PwC admits, on information and belief, that on March 27, 2015 Valeant issued

  7,286,432 shares of Valeant common stock and that the March 2015 Prospectus Supplement

  identified the Stock Underwriter Defendants as underwriters associated with this offering, the

  number of shares each underwriter had agreed to purchase, and underwriting discounts and

  commissions. PwC refers to that Prospectus Supplement for a complete and accurate description

  of its contents and is otherwise without knowledge or information sufficient to form a belief as to

  the truth of the allegations set forth in paragraph 676.

         677.    The allegations set forth in paragraph 677 purport to state legal conclusions to

  which no response is required. To the extent a response is required, PwC is without knowledge

  or information sufficient to form a belief as to the truth of the allegation that Plaintiff “purchased

  shares of Valeant common stock in the March 2015 Stock Offering pursuant to the March 2015

  Stock Offering Materials,” and PwC otherwise denies the allegations set forth in paragraph 677.

         678.    PwC denies the allegations set forth in paragraph 678, except PwC admits that

  Valeant issued the March 2015 Stock Offering Materials and refers to the referenced Stock

  Offering Materials for a complete and accurate description of their contents.

         679.    PwC denies the allegations set forth in paragraph 679, except PwC admits that

  Valeant issued the March 2015 Stock Offering Materials and refers to the referenced Stock

  Offering Materials for a complete and accurate description of their contents.

         680.    PwC admits that Valeant’s 2014 Form 10-K was incorporated by reference in the

  March 2015 Prospectus Supplement and included certain statements and SOX certifications by

  members of Valeant’s management.          PwC refers to the referenced 2014 Form 10-K for a




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  complete and accurate description of its contents and otherwise denies the allegations set forth in

  paragraph 680.

         681.      The allegations set forth in paragraph 681 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC denies

  the allegations set forth in paragraph 681.

         682.      The allegations set forth in paragraph 682 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC refers to

  the referenced March 2015 Stock Offering Materials, the 2014 Form 10-K, and to the cited

  regulations for a complete and accurate description of their contents and otherwise denies the

  allegations set forth in paragraph 682.

         683.      The allegations set forth in paragraph 683 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC refers to

  the referenced March 2015 Stock Offering Materials, the 2014 Form 10-K, and to the cited

  regulations for a complete and accurate description of their contents and otherwise denies the

  allegations set forth in paragraph 683.

         684.      The allegations set forth in paragraph 684 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC refers to

  the referenced March 2015 Stock Offering Materials, the 2014 Form 10-K and the cited

  regulations and for a complete and accurate description of their contents and otherwise denies the

  allegations set forth in paragraph 684.

         685.      The allegations set forth in paragraph 685 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC refers to

  the referenced March 2015 Stock Offering Materials, the 2014 Form 10-K, and the cited



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  regulations for a complete and accurate description of their contents and otherwise denies the

  allegations set forth in paragraph 685.

         686.    PwC admits that it served as Valeant’s independent auditor during the Class

  Period and continues to do so today.          PwC admits that Valeant’s 2014 Form 10-K was

  incorporated by reference in the March 2015 Prospectus Supplement; that Valeant’s 2014 Form

  10-K included PwC’s Audit Report relating to Valeant’s financial statements, financial statement

  schedule, and the effectiveness of Valeant’s internal control over financial reporting for the year

  ended December 31, 2014; and that PwC consented to the incorporation by reference of that

  Audit Report in the March 2015 Prospectus Supplement. PwC refers to that Audit Report for a

  complete and accurate description of its contents and denies Plaintiff’s characterizations of that

  Audit Report (including but not limited to the allegation that PwC “certified Valeant’s financial

  statements”). PwC otherwise denies the allegations set forth in paragraph 686.

         687.    PwC admits that PwC audited, and that Valeant restated, Valeant’s consolidated

  financial statements for the year ended December 31, 2014, and that Valeant and its Audit and

  Risk Committee concluded that material weaknesses in the Company’s internal control over

  financial reporting existed, as set forth in Valeant’s 2015 Form 10-K. PwC refers to Valeant’s

  2015 Form 10-K for a complete and accurate description of its contents. PwC otherwise denies

  the allegations set forth in paragraph 687.

         688.    The allegations set forth in paragraph 688 purport to characterize auditing

  standards and the purpose of an audit, and thus do not constitute factual allegations to which a

  response is required. To the extent a response may be deemed required, PwC admits that the

  objective of the ordinary audit of financial statements by the independent auditor is the

  expression of an opinion on the fairness with which they present, in all material respects,



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  financial position, results of operations, and its cash flows in conformity with generally accepted

  accounting principles. PwC admits that the American Institute of Certified Public Accountants

  (“AICPA”) and Public Company Accounting Oversight Board (“PCAOB”) have issued auditing

  standards. PwC admits that, in accordance with PCAOB auditing standards, PwC issued an

  Audit Report relating to Valeant’s financial statements, financial statement schedule, and the

  effectiveness of Valeant’s internal control over financial reporting for the year ended December

  31, 2014. PwC refers to the pronouncements of the PCAOB concerning the purpose of an audit,

  to PCAOB auditing standards, and to its own Audit Report for a complete and accurate

  description of the applicable materials.     PwC otherwise denies the allegations set forth in

  paragraph 688.

         689.      The allegations set forth in paragraph 689 purport to characterize auditing

  standards. PwC refers to the referenced auditing standards (AU 110; AU 150; AU 230) for a

  complete and accurate description of their contents and otherwise denies the allegations set forth

  in paragraph 689.

         690.      The allegations set forth in paragraph 690 purport to characterize auditing and

  accounting standards. PwC refers to the referenced Statement of Financial Accounting Concepts

  No. 8 for a complete and accurate description of its contents and otherwise denies the allegations

  set forth in paragraph 690.

         691.      PwC admits that Valeant restated its audited consolidated financial statements for

  the year ended December 31, 2014, and that Valeant and its Audit and Risk Committee

  concluded that material weaknesses in the Company’s internal control over financial reporting

  existed, as set forth in Valeant’s 2015 Form 10-K. PwC refers to Valeant’s 2015 Form 10-K for




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  a complete and accurate description of its contents. PwC otherwise denies the allegations set

  forth in paragraph 691.

         692.    PwC denies the allegations set forth in paragraph 692, except PwC admits that it

  provided the referenced 2014 Audit Report. PwC refers to that Audit Report for a complete and

  accurate description of its contents and otherwise denies the allegations set forth in paragraph

  692.

         693.    The allegations set forth in the text of paragraph 693 purport to state legal

  conclusions to which no response is required. To the extent a response may be deemed required,

  PwC denies that its Audit Report contained any untrue statements of material fact and/or omitted

  to state material facts. PwC refers to the 2014 Audit Report for a complete and accurate

  description of its contents and otherwise denies the allegations set forth in paragraph 693. With

  respect to the allegations set forth in footnote 92, PwC admits that, on March 21, 2016, Valeant

  filed a Form 8-K stating that Valeant and its Audit and Risk Committee had concluded that

  certain of the Company’s previously-issued audited and unaudited financial statements should no

  longer be relied upon. PwC refers to that Form 8-K for a complete and accurate description of

  its contents and otherwise denies the allegations set forth in footnote 92. With respect to the

  allegations set forth in footnote 93, PwC admits that Valeant disclosed material weaknesses in its

  internal control over financial reporting in its 2015 Form 10-K, filed on April 29, 2016. PwC

  refers to Valeant’s 2015 Form 10-K for a complete and accurate description of its contents and

  otherwise denies the allegations set forth in footnote 93.

         694.    PwC admits that Valeant filed its 2015 Form 10-K on April 29, 2016 and refers to

  the 2015 Form 10-K for a complete and accurate description of its contents. PwC otherwise

  denies the allegations set forth in paragraph 694.



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         695.    The allegations set forth in paragraph 695 refer to Valeant’s 2015 Form 10-K,

  which includes Valeant’s restated consolidated financial statements for the year ended December

  31, 2014. PwC refers to Valeant’s 2015 Form 10-K for a complete and accurate description of

  its contents. PwC otherwise denies the allegations set forth in paragraph 695.

         696.    PwC admits that, prior to PwC’s provision of its 2014 Audit Report, PwC was

  aware of Valeant’s December 15, 2014 purchase option agreement to acquire Philidor. PwC

  otherwise denies the allegations set forth in paragraph 696.

         697.    PwC denies the allegations set forth in paragraph 697.            PwC refers to the

  referenced auditing standards for a complete and accurate description of their contents.

         698.    PwC denies the allegations set forth in paragraph 698.            PwC refers to the

  referenced auditing standards for a complete and accurate description of their contents.

         699.    PwC admits that, in June 2014, the PCAOB issued Auditing Standard No. 18

  (“Related Parties”). PwC refers to AS 18 for a complete and accurate description of its contents

  and otherwise denies the allegations set forth in paragraph 699.

         700.    PwC denies the allegations set forth in paragraph 700.

         701.    PwC denies the allegations set forth in paragraph 701, except PwC admits that it

  was required to conduct its audits in accordance with the applicable standards of the Public

  Company Accounting Oversight Board. PwC refers to the referenced auditing standard (AS 5)

  and PwC’s 2014 Audit Report for a complete and accurate description of their contents.

         702.    PwC admits that the allegations set forth in paragraph 702 accurately quote a

  portion of AS 5. PwC refers to the referenced auditing standard for a complete and accurate

  description of its contents.




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          703.    PwC denies the allegations set forth in paragraph 703, except PwC admits that

  Valeant and its Audit and Risk Committee concluded that material weaknesses in the Company’s

  internal control over financial reporting existed that contributed to misstatements in certain of

  Valeant’s consolidated audited and unaudited financial statements, as set forth in Valeant’s 2015

  Form 10-K. PwC refers to Valeant’s 2015 Form 10-K for a complete and accurate description of

  its contents.

          704.    PwC denies the allegations set forth in paragraph 704, except PwC admits that

  Valeant’s 2014 Form 10-K included PwC’s Audit Report and that the 2014 Form 10-K was

  incorporated by reference in the March 2015 Stock Offering Materials.

          705.    PwC denies the allegations set forth in paragraph 705.

          706.    PwC denies the allegations set forth in paragraph 706, except PwC refers to its

  March 13, 2015 consent (attached as an exhibit to Valeant’s Form 8-K filed March 16, 2015) for

  a complete and accurate description of its contents.

          707.    PwC denies the allegations set forth in paragraph 707.        PwC refers to the

  Securities Act and auditing standards for a complete and accurate description of their contents.

          708.    The allegations set forth in paragraph 708 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC denies the

  allegations set forth in paragraph 708.

          709.    PwC admits that it consented to the incorporation by reference in Valeant’s March

  2015 Prospectus Supplement of PwC’s Audit Report and that Valeant’s Prospectus Supplement

  refers to PwC as “experts in auditing and accounting.” PwC otherwise denies the allegations set

  forth in paragraph 709.




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         710.      The allegations set forth in paragraph 710 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC denies the

  allegations set forth in paragraph 710.

         711.      The allegations set forth in paragraph 711 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC denies the

  allegations set forth in paragraph 711.

         712.      The allegations set forth in paragraph 712 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC is without

  knowledge or information sufficient to form a belief as to the truth of the allegation that Tucson

  purchased stock in the March 2015 Stock Offering, and PwC otherwise denies the allegations set

  forth in paragraph 712.

         [For the reasons given above, PwC is not responding to paragraphs 713-728 of the

  Complaint.]

         729.      The allegations set forth in paragraph 729 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC is without

  knowledge or information sufficient to form a belief as to the truth of the allegation that Tucson

  purchased Valeant’s stock in the March 2015 Stock Offering and PwC otherwise denies the

  allegations set forth in paragraph 729.

         730.      The allegations set forth in paragraph 730 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC admits

  that Valeant stock trades on the NYSE and refers to the referenced SEC filings for the number of

  shares outstanding as of April 22, 2016. PwC otherwise denies the allegations set forth in

  paragraph 730.



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         731.    The allegations set forth in paragraph 731 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC denies the

  allegations set forth in paragraph 731.

         732.    The allegations set forth in paragraph 732 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC denies the

  allegations set forth in paragraph 732.

         733.    The allegations set forth in paragraph 733 purport to state legal conclusions to

  which no response is required. To the extent a response may be deemed required, PwC denies the

  allegations set forth in paragraph 733.

                              PLAINTIFF’S PRAYER FOR RELIEF

         PwC denies that Plaintiff is entitled to any relief against PwC.

         734.    PwC admits that Plaintiffs have demanded a jury trial.

                                        GENERAL DENIAL

         To the extent not specifically admitted above, including (but not limited to) every

  instance where PwC is without knowledge or information sufficient to form a belief as to the

  truth of the allegations, PwC denies all allegations of the Complaint, including those in

  paragraphs 1-550, 572-668, 713-728, and all headings and legal conclusions, to the extent they

  may be deemed allegations. Any allegation which PwC admits is admitted only as to the specific

  facts admitted, and not as to any characterization, implication, speculation, or conclusion

  contained therein or in the Complaint as a whole. Further, in each case where PwC refers to

  documents for a complete and accurate description of their contents, PwC does not thereby admit

  any characterization of the nature of those documents or allegation concerning their application,

  and PwC denies the allegations to the extent they are inconsistent with those documents.



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                           AFFIRMATIVE AND OTHER DEFENSES

         PwC will rely on all defenses lawfully available to it at the time of trial and reserves the

  right to amend its Affirmative and Other Defenses, if necessary, if discovery in this action makes

  known facts that support such defenses. PwC also incorporates by reference any and all other

  defenses asserted by any other defendants to the extent those defenses are applicable to PwC. By

  virtue of alleging these defenses, PwC does not adopt or assume any burden of proof, persuasion,

  or production not otherwise legally assigned to it, and PwC does not concede that facts contrary

  to one or more of the averments below would support liability as to PwC.

                                         FIRST DEFENSE

         The Complaint fails to state any claim against PwC upon which relief can be granted.

                                        SECOND DEFENSE

         Plaintiff lacks standing to assert its claim against PwC.

                                         THIRD DEFENSE

         Plaintiff’s claim is barred in whole or part because, in PwC’s 2014 Audit Report

  incorporated by reference in the March 2015 Stock Offering Documents, PwC did not make any

  statements that were false or misleading when made or omit to state any material facts that were

  necessary in order to make any statement made therein not false or misleading.

                                       FOURTH DEFENSE

         Plaintiff’s claim is barred in whole or part because, in Valeant’s 2014 audited financial

  statements and in PwC’s 2014 Audit Report incorporated by reference in the March 2015 Stock

  Offering Documents, the statements challenged by Plaintiff were matters of opinion that, at the

  time those statements were made, were genuinely believed by the speaker.




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                                         FIFTH DEFENSE

         Plaintiff’s claim is barred in whole or part because, in Valeant’s 2014 audited financial

  statements and in PwC’s 2014 Audit Report incorporated by reference in the March 2015 Stock

  Offering Documents, any alleged misrepresentations or omissions were not material.

                                         SIXTH DEFENSE

         Plaintiff’s claim is barred in whole or part because, as to Valeant’s 2014 audited financial

  statements and PwC’s 2014 Audit Report incorporated by reference in the March 2015 Stock

  Offering Documents, PwC, after reasonable investigation, had reasonable grounds to believe and

  did believe, at the time such part of these Offering Documents became effective, that the

  statements therein were true and that there was no omission to state a material fact required to be

  stated therein or necessary to make the statement therein not misleading.

                                       SEVENTH DEFENSE

         Plaintiff’s claim is barred in whole or part because any alleged damages were not

  proximately caused by any alleged misrepresentations or omissions in Valeant’s 2014 audited

  financial statements or in PwC’s 2014 Audit Report incorporated by reference in March 2015 Stock

  Offering Documents.

                                        EIGHTH DEFENSE

         Plaintiff’s claim is barred in whole or part because, in acquiring Valeant’s stock, Plaintiff

  did not rely upon, nor was it misled by, any alleged misrepresentations or omissions in Valeant’s

  2014 audited financial statements or in PwC’s 2014 Audit Report incorporated by reference in

  the March 2015 Stock Offering Documents.

                                         NINTH DEFENSE

         Plaintiff’s claim is barred in whole or part by the safe harbor provisions of the Private

  Securities Litigation Reform Act of 1995 or the bespeaks caution doctrine.

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                                           TENTH DEFENSE

          Plaintiff’s claim is barred in whole or part because any alleged damages were the result

  of intervening or superseding events, acts, or omissions of other parties, or industry or market

  conditions over which PwC had no control and for which PwC cannot be held liable to Plaintiff.

                                        ELEVENTH DEFENSE

          PwC is not liable under Section 11 of the 1933 Securities Act for damages in excess of

  the price at which the shares were offered.

                                         TWELFTH DEFENSE

          PwC is entitled to recover contribution and/or indemnification from others for any

  liability it incurs.

                                      THIRTEENTH DEFENSE

          This case should not be certified as a class action because the class as alleged by Plaintiff

  does not satisfy the requirements of Rule 23 of the Federal Rules of Civil Procedure.

                                      FOURTEENTH DEFENSE

          Plaintiff’s claim is barred in whole or part by one or more of the doctrines of acquiescence,

  consent, estoppel, ratification, unclean hands, or waiver.

                                        FIFTEENTH DEFENSE

          Any damages sustained by Plaintiff must be reduced, diminished, and/or eliminated in

  proportion to the wrongful or negligent conduct of entities or individuals other than PwC,

  including Plaintiff, under the principles of equitable allocation, recoupment, set-off, contribution,

  proportionate responsibility, comparative fault, and failure to mitigate damages.

                                        SIXTEENTH DEFENSE

          Plaintiff’s claim is barred in whole or part to the extent Plaintiff’s purchases were not

  domestic transactions as required by Morrison v. National Australia Bank Ltd., 561 U.S. 247 (2010).

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                                    SEVENTEENTH DEFENSE

          Plaintiff’s claim against PwC is barred, in whole or in part, by the applicable statutes of

  limitations and/or statutes of repose.

                                     EIGHTEENTH DEFENSE

          Plaintiff’s claim is barred in whole or part to the extent that it relates to alleged

  misstatements or omissions that were neither made by PwC nor contained within Valeant’s 2014

  audited financial statements incorporated by reference in the March 2015 Stock Offering

  Documents.

                                      NINETEENTH DEFENSE

          Plaintiff’s claim is barred in whole or part because at the time Plaintiff acquired Valeant’s

  stock, it knew or should have known of any alleged untrue statement of material fact, or of any

  alleged omission of a material fact required to be stated or necessary to make the statement

  therein not misleading, in Valeant’s 2014 audited financial statements or in PwC’s 2014 Audit

  Report incorporated by reference in the March 2015 Stock Offering Documents.

                                      TWENTIETH DEFENSE

          PwC adopts and incorporates by reference herein any applicable affirmative or other defenses

  asserted or to be asserted by any of the other defendants to the extent that PwC may share in such a

  defense.

                                    TWENTY-FIRST DEFENSE

          PwC reserves the right to raise any additional defenses, cross-claims, and third-party claims,

  not asserted herein of which it may become aware through discovery or other investigation, as may

  be appropriate at a later time.

          WHEREFORE, PwC prays for relief and judgment:

          A. Denying Plaintiff the relief sought in the Complaint;

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           B. Dismissing the Complaint with prejudice;

           C. Ordering that Plaintiff take nothing and that judgment be entered against Plaintiff;

           D. Awarding PwC costs and expenses, including attorneys’ and expert fees; and

           E. Granting such other and further relief as the Court may deem just and proper.




  Dated:    June 12, 2017

                                                 CHIESA SHAHINIAN & GIANTOMASI PC

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